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   1   SAXENA WHITE P.A.                                   BIENERT KATZMAN
       David R Kaplan (230144)                             LITTRELL WILLIAMS LLP
   2   dkaplan@saxenawhite.com                             John L. Littrell (221601)
       12750 High Bluff Drive, Suite 475                   jlittrell@bklwlaw.com
   3   San Diego, CA 92130                                 Michael R. Williams (192222)
       Telephone: (858) 997-0860                           mwilliams@bklwlaw.com
   4   Facsimile: (858) 369-0096                           601 W. 5th Street, Suite 720
                                                           Los Angeles, CA 90071
   5   Lead Counsel for Lead Plaintiff                     Telephone: (949) 369-3700
       and the Class                                       Facsimile: (949) 369-3701
   6
                                                           Liaison Counsel for Lead Plaintiff
   7                                                       and the Class
   8
                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                             WESTERN DIVISION
  11
       KELLIE BLACK, Individually and on           )   No. CV 21-8892-GW-RAOx
  12   Behalf of All Others Similarly Situated,    )
                                                   )   CLASS ACTION
  13         Plaintiff,                            )
                                                   )
  14         vs.                                   )   ORDER GRANTING
                                                   )   PLAINTIFF’S APPLICATION
  15   SNAP INC., EVAN SPIEGEL and                 )   FOR LEAVE TO FILE UNDER
       JEREMI GORMAN,                              )   SEAL PORTIONS OF
  16                                               )   PLAINTIFF’S SECOND
             Defendants.                               AMENDED CLASS ACTION
  17                                                   COMPLAINT
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                                   [PROPOSED] ORDER GRANTING APPLICATION TO FILE SAC UNDER SEAL
                                                                    Case No. 2:21-cv-08892-GW(RAOx)
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   1         Upon due consideration and having found compelling reasons shown,
   2   Plaintiff’s Application for Leave to File Under Seal Portions of Plaintiff’s Second
   3   Amended Class Action Complaint is GRANTED. The information in Plaintiff’s
   4   Second Amended Class Action Complaint referencing the specific criteria in
   5   Defendant Evan Spiegel’s Rule 10b5-1 trading plans that were previously redacted
   6   or sealed pursuant to the Court’s May 5, 2022 Order Granting Defendants’
   7   Application to File Under Seal (ECF No. 80) will be redacted or sealed in the Court’s
   8   record.
   9         In accordance with L.R. 79-5.2.2(a), Plaintiff is directed to file the Second
  10   Amended Class Action Complaint pursuant to the protocol outlined in L.R. 79-
  11   5.2.2(c). The Clerk will not convert the proposed sealed document submitted with
  12   the Application into a new filing.
  13         IT IS SO ORDERED.
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  16   Dated: August 3, 2022                   _____________________________
                                               HON. GEORGE H. WU,
  17                                           United States District Judge
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                                    [PROPOSED] ORDER GRANTING APPLICATION TO FILE SAC UNDER SEAL
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